
PER CURIAM.
By petition and cross-petition for a writ of certiorari we have for review an order of the Florida Industrial Commission hearing date March 6, 1969.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 32 F.S.A.
Our consideration of the petitions, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petitions are therefore denied.
The petition for allowance of an attorney’s fee is hereby granted in the amount of $250.00.
ERVIN, C. J., and ROBERTS, DREW, CARLTON and BOYD, JJ., concur.
